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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE EX PARTE APPLICATION OF
SPS I FUNDO DE INVESTIMENTO DE AÇÕES –
INVESTIMENTO NO EXTERIOR

                                   Petitioner,
                                                      Case No. 22-mc-00118-LAK

For an Order Pursuant to 28 U.S.C. § 1782 to Take
Discovery for use in Contemplated Proceeding in the
Federative Republic of Brazil.




           DECLARATION OF FABINO ROBALINHO CAVALCANTI
       IN SUPPORT OF PETITIONER SPS I FUNDO DE INVESTIMENTO
   DE ACÕES – INVESTIMENTO NO EXTERIOR’S MEMORANDUM OF LAW I
    N OPPOSITION TO INTERVENOR’S MOTION TO VACTE THE COURT’S
     APRIL 26, 2022 EX PARTE ORDER AND TO QUASH THE SUBPOENAS
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                 DECLARATION OF FABIANO ROBALINHO CAVALCANTI

              I, Fabiano Robalinho Cavalcanti, pursuant to 28 U.S.C. § 1746,
hereby declare under penalty of perjury under the laws of the United
States, as follows:


1.            I submit this Declaration in support of the request of SPS I
Fundo de Investimento de Ações – Investimento no Exterior (“SPS”) for entry
of an order allowing it to take discovery for use in a contemplated
proceeding in Brazil, as further described below, pursuant to 28 U.S.C. §
1782 (“1782 Application”).


2.            All facts set forth in this Declaration are based upon: (i) my
personal knowledge; (ii) my review of the documents that SPS provided to
me; and (iii) information obtained from SPS.


     I.   PROFESSIONAL BACKGROUND INFORMATION


3.            I am an attorney admitted to practice in Brazil, since 1998,
and in the State of New York, since 2001. My professional activity is
focused on private law, with an emphasis on corporate law, contract law
and arbitration. Since 1997, I am a partner at the firm Sergio Bermudes
Advogados, specialized in dispute resolution. I am over the age of 21 and
fluent in English and submit this Declaration in this language.


4.            In 1997, I graduated in Law from Pontifícia Universidade
Católica of Rio de Janeiro. In 2000, I obtained my LLM degree from Harvard
Law School.


5.            Since 2006, I have been a professor of arbitration and private
international law at Fundação Getulio Vargas (FGV-Rio), where I regularly
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teach undergraduate classes. I am also the author of several articles
published in specialized books and magazines.


6.           Additionally, I am a member of the International Court of
Arbitration of ICC (International Chamber of Commerce), the Latin-American
Group of ICC, the board of the Brazilian Committee of Arbitration (CBAr)
and Director of the Brazilian Committee of Arbitration (CBAr).


     II.   A BRIEF OVERVIEW OF THE SUBJECT MATTER OF THE ONGOING ARBITRATION
           PROCEEDING INITIATED BY SPS


7.           In 2017, SPS initiated an arbitration proceeding on behalf of
JBS before the Market Arbitration Chamber (CAM) in São Paulo, based on the
Brazilian Corporation Law, in which it seeks to indemnify the company for
the damages caused by its controlling shareholders.


8.           The claims made by SPS do not include any fraud Wesley Batista
and Joesley Batista, JBS’s indirect controlling shareholders (“Batista
Brothers”), allegedly committed using the Unifleisch entities.


9.           As established in the Request for Arbitration, the subject
matter of the arbitration initiated by SPS is related to complaints and
criminal proceedings of Operations against corruption, such as “Lava-Jato”,
“Greenfield”, “Patmos”, among many others, but does not include Unifleisch.


10.          Based on the allegations made by SPS and Jose Aurelio Valporto,
which were set forth on the Terms of Reference, signed by the parties and
by JBS, the Unifleisch entities were not mentioned, and the claimants were
only seeking the accountability of the respondents regarding the abuses
committed, all of whom have already been publicly confessed.


11.          Thus, the matters regarding Unifleisch entities are only being
discussed before CVM, a federal entity in charge of overseeing the
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Brazilian securities market, in administrative enforcement proceedings,
arising from a complaint to be filed by SPS.


   III. THE INADMISSIBILITY OF NEW CLAIMS UNDER THE ARBITRATION PROCEEDING
          WITHOUT J&F'S AUTHORIZATION

12.          Additionally, as above mentioned, in April of 2019, the Terms
of Reference were signed and expressly determined that new claims, not
covered by the document, could not be submitted by the parties, unless
they were authorized to do so by the Arbitral Tribunal, after hearing the
other party. Also, in making this decision, the Tribunal shall consider
the nature of such claims, the current status of the proceedings and any
other relevant circumstances.

13.          The Terms of Reference expressly determined the requirement of
an express authorization made by the parties in order to submit a new claim
to the Arbitral Tribunal:




                   (“According to item 4.5 of the Rules, the stabilization of the
                   demand will occur in this act, being prohibited to the parties,
                   at a later time, any requests other than those contained in
                   this Terms of Reference, unless there is an agreement of the
                   counterparty and/or express authorization of the Arbitral
                   Tribunal.”)


14.          The provision established by item 7.3 of the Terms of Reference
of the proceeding initiated by SPS is in accordance with item 4.5 of the
Market Arbitration Chamber Rules1.




1 4.5 New claims. Once the Terms of Reference have been signed, the parties

may not submit new claims not covered by the Terms of Reference unless they
are authorized to do so by the Arbitration Tribunal, after hearing the other
party. In making this decision, the Tribunal shall consider the nature of
such claims, the current status of the proceedings and any other relevant
circumstances. (https://www.camaradomercado.com.br/en-US/arbitragem.html)
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15.          Consequently, after the Terms of Reference are signed, the
subject matter of the proceeding cannot be amended, meaning that new claims
cannot be presented by a party without the consent of the other.


16.          Therefore, even if the Arbitral Tribunal agreed that claims
were sought to be made by SPS, which is unlikely due to the advanced stage
of the arbitration, the other parties ― including J&F ― would have to
agree with the submission of a new claim. Obviously, J&F would not authorize
the inclusion of a new claim against itself.


   IV.    EVIDENCE TO BE OBTAINED PURSUANT TO THE 1782 APPLICATION WOULD
          NOT BE USEFUL FOR THE PENDING CAM ARBITRATION


17.          In conclusion, SPS is not seeking the New York 1782 to submit
new evidence in the pending CAM arbitrations, not only due to the advanced
stage of the proceedings, but also because the proceedings do not include
the alleged unlawful acts regarding Unifleisch entities.


18.          Even if authorized by the Arbitral Tribunal, SPS could not
submit new claims regarding the Unifleisch entities without J&F and Batista
Brother’s authorization, as established item 4.5 of the Arbitration Rules
and item 7.3 of the Terms of Reference.


19.          Thus, SPS is only seeking to produce new evidence based on New
York 1782 in relation to the administrative proceedings arising from a
complaint to be filed by SPS, since the subject regarding Unifleisch
entities is not contained in the ongoing arbitration proceedings.


20.          Lastly, it should be noted that this declaration only concerns
the ongoing arbitrations in which SPS is a party, without including any
new proceedings that may arise in the future.


21.          Thus, SPS is not seeking the New York 1782 evidence for use in
the pending CAM arbitrations.
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22.          I declare under penalty of perjury that the foregoing is true
and correct.


                           Respectfully Submitted,




                        Fabiano Robalinho Cavalcanti




Executed on June 20, 2022
